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EXHIBIT 2
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

AFL-CIO, et al.,
Plaintiffs,
VS. Case No. 1:25-cv-00339-JDB
Department of Labor, et al.,

Defendants.

PLAINTIFFS’ [PROPOSED] INTERROGATORIES AND REQUESTS FOR
PRODUCTION OF DOCUMENTS

Plaintiffs American Federation of Labor and Congress of Industrial Organizations
(“AFL-CIO”), American Federation of Government Employees (“AFGE”), American Federation
of State, County & Municipal Employees, AFL-CIO (“AFSCME”), Service Employees
International Union, AFL-CIO (“SEIU”), Communication Workers of America, AFL-CIO
(“CWA”), Economic Policy Institute (“EPI”), Virginia Poverty Law Center (“VPLC’”),
Economic Action Maryland Fund (““EAMF”), and American Federation of Teachers (“AFT”),
through their undersigned attorneys, propound the following Interrogatories and Requests for
Production of Documents (“RFPs”) to Defendants the Department of Labor (“DOL”), the
Department of Health and Human Services (“HHS”), the Consumer Financial Protection Bureau
(“CFPB”), the U.S. DOGE Service (“USDS”), and the U.S. DOGE Service Temporary
Organization (together with USDS, “DOGE”).

DEFINITIONS AND INSTRUCTIONS

The following definitions shall apply to the Interrogatories, Requests for Production, and

Requests for Depositions Pursuant to Fed. R. Civ. P. 30(b)(6), set forth below:

1. “Access” means the ability to directly review records in an agency system;
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2. “Defendant Agencies” means the Department of Labor (“DOL”), Department of
Health and Human Services (“HHS”), and Consumer Financial Protection Bureau (“CFPB”);

3. “DOGE” refers collectively to the U.S. DOGE Service and U.S. DOGE Service
Temporary Organization;

4. “DOGE Employee” refers to any individual who is employed by DOGE or
otherwise works for DOGE (including volunteers, if any), including any individual employed by
DOGE but detailed to one or more federal agencies;

5. “Identify” when used in connection with the term “individual” or “individuals”
means to state the person’s name, title, and employing agency.

6. “Sensitive Systems” refers to any system of records that contains Personally
Identifiable Information (PII), Personal Health Information (PHI), trade secrets, or confidential
business information.

7. You are requested to complete responses to interrogatories and document requests
at least four calendar days before the earliest date of any depositions.

8. Unless otherwise-specified, the time period covered by these discovery requests is
January 20, 2025 until March 24, 2025. You are hereby requested to supplement your responses

on an ongoing basis, up to and including the end date of this discovery period.
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PLAINTIFFS’ FIRST SET OF INTERROGATORIES

1. Identify each DOGE Employee who has Accessed, has been granted permission to

Access, or has a pending request to Access, any Sensitive Systems at Defendant

Agencies, and for each, please provide:

a.

The names of each Sensitive System that the DOGE Employee has been granted
Access to;

The date that the DOGE Employee was granted permission to Access Sensitive
Systems at Defendant Agencies;

The identity of any employee of Defendant Agencies who authorized the DOGE
Employee to Access Sensitive Systems;

The name and description of each training program the DOGE Employee
completed prior to being granted Access to each Sensitive System;

A summary of the actual usage of each Sensitive System by the DOGE Employee,
including a description of the records reviewed, the purpose for which they were
reviewed, any restrictions on the DOGE Employee’s Access, and whether any
records were modified, copied, shared or removed from Defendant Agencies’
systems, and, if so, the identity of any person(s) with whom those records have
been shared;

A complete list of the federal agencies to which the DOGE Employees are or have
been detailed since January 20, 2025;

The name and a summary of the function of any software installed by, or caused
to be installed by, the DOGE Employee on Agency networks or systems;

The names of each Sensitive System to which DOGE Employees have been
denied access by Defendant Agencies;

2. With respect to structure of DOGE and the relationship between DOGE and DOGE

Employees detailed to Defendant Agencies,

a.

Identify the individual who has been appointed to or is, in fact, serving in the role
of the USDS Administrator, as that term is used in Section 3(b) of Executive
Order 14158.

Identify any individual(s) within DOGE or the Executive Office of the President
who exercises authority over government-wide DOGE operations, including with
respect to the following decisions:
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Cc.

i. Which agencies a DOGE Employee will be detailed to;
ii. Which DOGE Employees to deploy to each agency;

iit. How a DOGE Employee should implement the President’s “DOGE
Agenda” at agencies, including the scope of work to be performed at
agencies; and

iv. How a DOGE Employee should resolve conflicts with employees of
Defendant Agencies concerning the scope of the authority DOGE
Employees may exercise at the agencies or the scope of the DOGE
Employee’s access to the Sensitive Systems of one of the Defendant
Agencies.

If there are multiple individuals within the Executive Office of the President who
exercise authority related to the detailing of DOGE Employees to Defendant
Agencies, please (i) identify all such individuals and (ii) describe the scope of
their authority.

Identify the circumstances under which information gathered from Sensitive
Systems may be shared between a DOGE Employee detailed to one of the
Defendant Agencies and any persons not employed by Defendant Agencies, such
as DOGE Employees detailed to different agencies (even if the different agency is
also one of the Defendant Agencies), DOGE Employees not detailed to any
agency, employees at other federal agencies or within the White House Executive
Office of the President, or individuals who are not government employees;

Identify the individual(s) within the federal government who have the authority to
supervise, discipline, terminate, or reinstate a DOGE Employee who has been
detailed to one of the Defendant Agencies;
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PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS

1.

Copies of any nondisclosure agreements signed by DOGE Employees detailed to
Defendant Agencies, including but not limited to the nondisclosure agreements
referenced in the Declaration of Adam Martinez, ECF No. 31-3 ¥ 6 and any similar
agreements that may exist at other Defendant Agencies;

Copies of any written agreements or certifications governing or describing the detail of
DOGEE _  mployees to Defendant Agencies, including but not limited to the detail
agreements referenced in the Declaration of Garey Rice, ECF No. 31-2 J 7, the Martinez
Decl., ECF No. 31-3 ¥ 8, the memorandum of understanding that is in place between
HHS and another federal agency, which is referenced in the Rice Decl., ECF No. 31-2 |
8, task orders describing DOGE’s responsibilities in the Declaration of Ricky J. Kryger,
Dkt. 31-1 9 5, detail agreements effectuating the DOGE detail described in the
Declaration of Adam Ramada, ECF No. 16-1 4 6, and any other similar agreements
setting forth or describing the terms of DOGE’s work at Defendant Agencies;

Copies of any written guidelines for DOGE Employees’ access to Sensitive Systems,
including but not limited to the guidelines referred to in the Declaration of Kryger Decl.,
ECF No. 31-1 4 8 and any other similar guidelines that may exist at Defendant Agencies;

Copies of any certifications or access agreements signed by DOGE Employees or their
supervisors in order to grant them access to Sensitive Systems, including but not limited
to the access agreements and Request to Access forms referenced to in the Kryger Decl.,
ECF No. 31-1 4 8, any written authorization referenced to in the Martinez Decl., ECF No.
31-3 4 9, and any other similar authorizations that may exist at Defendant Agencies.

Copies of any privacy and/or cyber security training materials or documents provided to
DOGE Employees on detail to Defendant Agencies, as referenced in in the Martinez
Decl., ECF No. 31-3 4 6;

Copies of any “confidentiality protocols” established to govern the access of DOGE
Employees, as referenced in the Kryger Decl.,ECF No. 31-1 4 9, and any other similar
authorizations that exist at Defendant Agencies; and

Copies of any documents or records in which the DOL Office of the Chief Information
Officer (“OCIO”) granted “specific approval” for users of “the data, information, or
documents from DOL information systems . . . to share this data, information, or
documents outside of DOL information systems,” as referenced in the Kryger Decl., ECF
No. 31-1 4 11, and any similar approvals granted at other Defendant Agencies. This
request is limited to approvals for the sharing of data, information, or records by or to a
DOGE Employee.
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PLAINTIFFS PROPOSED DEPOSITIONS PURSUANT TO FED. R. CIV. P. 30(B)(6)

Plaintiffs seek four depositions under Fed. R. Civ. P. 30(b)(6), one addressing each
Defendant Agency and one addressing DOGE, addressing the topics listed below. Plaintiffs
propose that each deposition last a maximum of three and a half hours.

Defendant Agencies 30(b)(6) Topics:

1. The security and privacy policies, procedures, practices, and protocols governing the
access to, use of, and alterations to the Agency’s Sensitive Systems and the information
they contain, as of January 19, 2025 and between January 20, 2025 and the date of
deposition.

2. The role and responsibilities of DOGE Employees working at the Agency between
January 20, 2025 and the date of deposition, including their identities; their titles and the
governmental entity by which they are employed; their access to and use of Agency
Sensitive Systems, including any relevant training they received; their authority with
regard to Agency staff; the supervision of DOGE Employees and other members of
DOGE Teams; and the policies, procedures, and protocols pertaining to their detailing to
and activities at the Agency.

3. The actual use of Sensitive Systems by DOGE Employees between January 20, 2025 and
the date of deposition, including: identifying which Sensitive Systems have been
accessed and the scope and purpose of any access; whether DOGE Employees have
installed, directly or indirectly, any software on Agency systems and the nature, purpose,
and functionality of any such software; whether DOGE Employees have disseminated
any information collected from Sensitive Systems, and the scope, purpose, and legal

authority for any such dissemination.
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DOGE 30(b)(6) Topics:

. The mission, responsibilities, leadership structure, and decision-making structure of
DOGE (including the relationship of DOGE to DOGE Employees detailed to or
otherwise working at or with Defendant Agencies) between January 20, 2025 and the
date of deposition.

. The scope of the authority DOGE possesses with regard to the Defendant Agencies, and
the derivation of that authority between January 20, 2025 and the date of deposition.

. The role and responsibilities of all DOGE Employees detailed to or otherwise working at
or with Defendant Agencies, or having supervisory authority over DOGE Employees
detailed to or otherwise working at or with Defendant Agencies, between January 20,
2025 and the date of deposition, including their titles at DOGE and any federal
government entity; their responsibilities at Defendant Agencies, DOGE, and any other
federal government entities to which they have been detailed and/or otherwise assigned;
their access to and use of the Defendant Agencies’ Sensitive Systems and any relevant
training they received either from Defendant Agencies or from DOGE; their authority
with regard to Agency staff; the supervision of said DOGE Employees; and the policies,

procedures, and protocols pertaining to their detailing to and activities at the Agency.
